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				RENFRO ELECTRIC v. SEXTON2014 OK CIV APP 14318 P.3d 218Case Number: 111711Decided: 01/10/2014Mandate Issued: 02/04/2014DIVISION ITHE COURT OF CIVIL APPEALS FOR THE STATE OF OKLAHOMA, DIVISION ICite as: 2014 OK CIV APP 14, 318 P.3d 218

RENFRO ELECTRIC and NATIONAL AMERICAN INSURANCE COMPANY, 
Petitioners,v.SCOTT SEXTON and THE WORKERS' COMPENSATION COURT, 
Respondents.

PROCEEDING TO REVIEW AN ORDER OF A THREE-JUDGE PANELOF THE 
WORKERS' COMPENSATION COURT

SUSTAINED

D. Wade Christensen, Christensen &amp; Associates, P.L.L.C., Oklahoma City, 
Oklahoma, for Petitioners,Joe B. Lucas, Oklahoma City, Oklahoma, and R. Jay 
McAtee, Tulsa, Oklahoma, for Respondent.


Larry Joplin, Presiding Judge:
¶1 Petitioners Renfro Electric and National American Insurance Company 
(collectively, Employer) seek review of an order of a three-judge panel 
affirming the trial court's award of benefits to Respondent Scott Sexton 
(Claimant). In this review proceeding, Employer challenges the award as contrary 
to the express terms of 85 O.S. 
§312(1), and contrary to the clear weight of the evidence.
¶2 Claimant worked for Employer and served as a Field Superintendent or Lead 
Journeyman on a crew of other employees. On the date in question, the crew under 
Claimant's supervision worked on the roof of a two story structure, and the crew 
had ascended using ladders. Instead of using the ladders in place to reach the 
second story roof, Claimant directed that he be lifted to the second story roof 
by means of a materials lift, akin to a fork lift, known as a "sky trac." As he 
stepped from the lift to the roof, his foot slipped, Claimant fell, and 
sustained significant injury. Claimant admitted that the lift was not intended 
to lift workers, that he knew such a use was dangerous, contrary to safety rules 
and Employer's instructions, but averred that, because the ladders were not 
rated to bear his 350-pound weight, the lift was more appropriate.
¶3 Employer denied liability for the claim. Employer asserted Claimant's 
injury was occasioned by Claimant's intentional disregard of the known dangers, 
safety rules and specific instructions prohibiting use of the lift by workers, 
and constituted an "injury occasioned by the willful intention of the injured 
employee to bring about injury to himself," barred by the express provisions of 
85 O.S. §312(1).
¶4 On consideration of the testimony of Claimant and other witnesses, the 
trial court held that, although Claimant "used bad judgment, ignored 
instructions from his employer thereby causing injury to himself . . . [,] there 
is not evidence [C]laimant intended to harm himself." The trial court thus held 
that "his injury did arise out of and in the course of his employment," and 
allowed benefits for temporary total disability. Employer appealed, and a 
unanimous three-judge panel affirmed the trial court's order as neither contrary 
to law, nor contrary to the clear weight of the evidence.
¶5 Employer now seeks review in this Court. Employer again argues that 
Claimant's injury, occasioned by his admitted disregard of the known dangers, 
the safety rules and Employer's specific instructions proscribing use of the 
lift for workers, constitutes "an injury occasioned by the willful intention of 
the injured employee to bring about injury to himself," and as such, the claim 
was barred by the express provisions of §312(1).
¶6 The law in effect at the time of the injury controls both the award of 
benefits and appellate review. Williams Companies, Inc. v. Dunkelgod, 2012 OK 96, ¶¶14, 18, 295 P.3d 1107, 1111, 1113. On 
review of the lower court's interpretation and application of the law in effect 
at the time of the injury, we examine the lower court's legal rulings de 
novo, without deference to the lower court's determination. See, e.g., 
Mays Plus, Inc. v. Ennis, 2006 
OK CIV APP 59, ¶6, 135 P.3d 
839, 841. (Citation omitted.) On issues of fact, we apply the standard of 
review in effect at the time of the injury, and the law in effect at the time of 
Claimant's injury dictates that we affirm the decision of the Workers' 
Compensation Court unless against the clear weight of the evidence. 
Dunkelgod, 2012 OK 96, 
¶18, 295 P.3d at 1113; 85 O.S. Supp. 
2011 §340(D).
¶7 Since at least 1915, Oklahoma workers' compensation law has absolved an 
employer from liability for an injury to an employee "where the injury is 
occasioned by the wilful intention of the injured employee to bring about injury 
of himself or of another, or where the injury results directly from the willful 
failure of the injured employee to use a guard or protection against accident 
furnished for his use . . . , or results directly from the intoxication of the 
injured employee while on duty." Laws 1915, c. 246, art. 2, sec. 1. Oklahoma 
workers' compensation law has ever since consistently so held. See, e.g., 
85 O.S. 1981 §11; 85 O.S. 2011 §312(1).
¶8 Nevertheless, we find few "willful self-injury" cases. Under the willful 
failure to use a guard provision, the Oklahoma Supreme Court early recognized 
many different meanings of the word, "willful," but noted at least one meaning 
of "[t]he word 'willful' as applied to the conduct of the injured person 
signifies moral blame, and if there is no moral blame, the case would not come 
within the scope of the statutory exception." Wick v. Gunn, 1917 OK 607, ¶9, 169 P. 1087, 1089. (Citations 
omitted.) The Supreme Court also recognized there was no bright-line rule to 
follow: "'It is not the province of the court to lay down that the breach of a 
rule is prima facie evidence of serious and willful misconduct.'" Wick, 
1917 OK 607, ¶11, 169 P. at 1089. 
(Citation omitted.)
¶9 Consistent with this approach, the Supreme Court later held that "[t]he 
willful failure contemplated carries with it the idea of premeditation, 
obstinacy, and intentional wrongdoing," but the "mere voluntary and intentional 
failure of a workman to use [a] safety appliance does not necessarily render the 
omission willful." Gregory v. Oklahoma Operating Co., 1929 OK 477, ¶0(2), 282 P. 139. Indeed, "the fact that 
an employee violates the instructions of the employer with reference to the 
manner of performing the work does not justify denying the employee compensation 
where the instructions were given for the safety of the employee." Oklahoma 
Ry. Co. v. Cannon, 1946 OK 
354, ¶9, 176 P.2d 482, 484. 
(Citation omitted.) And, even if the injury results from the employee's 
negligent or dangerous failure to follow specific safety rules, regulations or 
procedures, where the uncontroverted testimony shows the claimant had no 
intention of injuring himself, the claim is properly allowed:

  
    In the matter before us, there is no conflict in the evidence. Certainly 
    the claimant intended to insert his arm into the access door without locking 
    and tagging out the nearby valve. He did so with no intention whatsoever of 
    coming into contact with the valve. The claimant's disregard for his own 
    safety was negligent, as well as dangerous. It was not, however, willful as 
    the Oklahoma Supreme Court has defined the term in the context of the 
    Workers' Compensation Act. . . . "Contributory negligence and willful 
    failure to use a safety appliance must not be confused. The mere voluntary 
    failure to use the same would constitute contributory negligence and to hold 
    that such failure in itself barred relief would, in effect, preserve a 
    defense abrogated by the act." Wick, [1917 OK 607, ¶19], 169 P. at 
    1090.
Ashley v. Monsanto, 2000 OK 
CIV APP 43, ¶12, 4 P.3d 48, 
51.
¶10 The question of the occurrence of a "willful" injury constitutes one of 
fact. Ashley, 2000 OK CIV APP 
43, ¶11, 4 P.3d at 50; Wick, 1917 OK 607, ¶¶0(4), 18, 169 P. at 
1087, 1088. As we have previously noted, a determination of fact by the Workers' 
Compensation Court must stand unless against the clear weight of the 
evidence.
¶11 In the present case, the Claimant admitted that the lift was not intended 
to lift workers, and that he knew such a use was dangerous, contrary to safety 
rules and Employer's instructions. However, while the Claimant's disregard for 
his own safety may have been "negligent, as well as dangerous," there is 
absolutely no evidence Claimant, in using the lift to reach the second story of 
the building, "willfully" intended to injure himself as that term has been 
defined. Ashley, 2000 OK CIV 
APP 43, ¶12, 4 P.3d at 51.
¶12 We therefore hold the order of the Workers' Compensation Court is neither 
contrary to the express terms of §312(1), nor contrary to the clear weight of 
the evidence. The order of the three-judge panel is therefore SUSTAINED.

HETHERINGTON, V.C.J., and BUETTNER, J., concur.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Civil Appeals Cases&nbsp;CiteNameLevel&nbsp;2006 OK CIV APP 59, 135 P.3d 839, MAYS PLUS, INC. v. ENNISDiscussed&nbsp;2000 OK CIV APP 43, 4 P.3d 48, 71 OBJ        1339, ASHLEY v. MONTSANTODiscussed at LengthOklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1946 OK 354, 176 P.2d 482, 198 Okla. 65, OKLAHOMA RY. CO. v. CANNONDiscussed&nbsp;1917 OK 607, 169 P. 1087, 66 Okla. 316, WICK et al. v. GUNN et al.Discussed at Length&nbsp;1929 OK 477, 282 P. 139, 139 Okla. 243, GREGORY v. OKLAHOMA OPERATING CO.Discussed&nbsp;2012 OK 96, 295 P.3d 1107, WILLIAMS COMPANIES, INC. v. DUNKELGODDiscussed at LengthTitle 85. Workers' Compensation&nbsp;CiteNameLevel&nbsp;85 O.S. 312, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Discussed at Length&nbsp;85 O.S. 340, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Cited&nbsp;85 O.S. 11, Repealed by Laws 2011, SB 878, c. 318, § 87Cited


				
					
					
				
             
         
        
            

		